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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION

 RowVaughn Wells,

                        Plaintiff,
                                                     Case No. 2:23-CV-02224
        v.
                                                     JURY DEMAND
 The City of Memphis et al.,

                        Defendants.



    PLAINTIFF’S NOTICE OF CORRECTED FILING REGARDING PLAINTIFF’S
                     MOTION TO COMPEL (ECF 279).

       Plaintiff RowVaughn Wells, through her undersigned counsel, respectfully notifies this

Court that the January 10, 2025, filing of Plaintiff’s Motion to Compel (ECF 279) inadvertently

included a drafting note in Plaintiff’s Motion. Plaintiff has re-filed its Motion to Compel and

accompanying exhibits as ECF 281. Plaintiff therefore respectfully asks this Court to accept

this Notice of Corrected Filing.

                                                       /s/ Stephen H. Weil
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